         Case: 3:21-cv-00191-wmc Document #: 4 Filed: 05/14/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

 ANTHONY BUSSIE,

         Plaintiff,
                                                    Case No. 21-cv-191-wmc
    v.

 CONGRESSWOMAN JAIME
 BEUTLER, et al.,

         Defendants.


                             JUDGMENT IN A CIVIL CASE


         IT IS ORDERED AND ADJUDGED that judgment is entered dismissing this

case.




         /s/                                            5/14/2021
         Peter Oppeneer, Clerk of Court                       Date
